                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSSETS


AMERICAN ASSOCIATIONS OF                          No. 1:25-cv-10685-WGY
UNIVERSITY PROFESSORS, et al.,
                                                  DECLARATION OF ETHAN KANTER IN
                           Plaintiffs,            SUPPORT OF DEFENDANTS’
                                                  RESPONSE TO PLAINTIFFS’ MOTION
   v.                                             TO COMPEL

MARCO RUBIO, in his official capacity as
Secretary of State, and the DEPARTMENT OF
STATE et al.,

                          Defendants.

        I, Ethan Kanter, hereby declare:

        1.     I am one of the attorneys representing Defendants in the above-captioned matter,

               AAUP v. Rubio, No. 1:25-cv-10685-WGY. I have personal knowledge of the

               facts stated below and am competent to testify regarding the same.

        2.     On May 13, 2025, Plaintiffs served their initial discovery requests on Defendants;

               see Exhibit A (Plaintiffs’ Requests for Production); Exhibit B (Plaintiffs’

               Interrogatories);

        3.     On May 19, 2025, Plaintiffs served their amended discovery requests on

               Defendants; see Exhibit C (Plaintiffs’ Amended Requests for Production);

               Exhibit D (Plaintiffs’ Amended Interrogatories);

        4.     On June 13, 2025, Defendants served on Plaintiffs’ their responses and objections

               to Plaintiffs amended Requests for Production, along with Defendants’ first

               production volume of responsive documents; see Wilkens Decl. Ex. 2 (submitted

               under seal) (Government’s Responses and Objections to RFPs); Exhibit E (June

               13, 2025, Transmittal Email);
5.    On June 21, 2025, Defendants served on Plaintiffs their responses and objections

      to Plaintiffs’ amended interrogatories; see Wilkens Decl. Ex. 10 (submitted under

      seal) (Governments Responses and Objections to Interrogatories); Exhibit F

      (Interrogatory Response Transmittal Email);

6.    On June 11, 2025, Plaintiffs conducted the deposition of Andre Watson, Assistant

      Director, National Security Division, Homeland Security Investigations;

7.    On June 12, 2025, Plaintiffs conducted the deposition of John Armstrong, Senior

      Bureau Official, Bureau of Consular Affairs, U.S. Department of State; Sealed

      Exhibit G (Armstrong Deposition Transcript).

8.    On June 24, 2025, Plaintiffs conducted the deposition of Stuart Wilson, Deputy

      Assistant Secretary for Visa Services, Bureau of Consular Affairs, U.S.

      Department of State;

9.    On June 25, 2025, Plaintiffs conducted the deposition of Peter Hatch, Assistant

      Director, Office of Intelligence, Homeland Security Investigations, Department of

      Homeland Security;

10.   On June 30, 2025, Plaintiffs are scheduled to depose Andrew Veprek, Senior

      Advisor, Office of the Counselor, U.S. Department of State;

11.   On July 1 and July 3, 2025, Plaintiffs are scheduled to depose Jessica Norris,

      Managing Director for Visa Services, Bureau of Consular Affairs, U.S.

      Department of State;

12.   Defendants have also identified various DHS, Immigration and Customs

      Enforcement agents for Plaintiffs and will make them available for depositions to

      the extent that schedules allow.
I declare under penalty of perjury that the foregoing is true and correct.

EXECUTED this 27th day of June 2025 in Washington, DC.

                                              /s/ Ethan Kanter
                                              Ethan Kanter
